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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA
                                                   Criminal No. 2:23-cr-20699-01
            v.
                                                   Hon. Gershwin A. Drain
AL’S ASPHALT PAVING
COMPANY, INC.

                         Defendants.
                                             /

        UNITED STATES’ SENTENCING MEMORANDUM FOR
             AL’S ASPHALT PAVING COMPANY, INC.

      For more than half a decade, Defendant Al’s Asphalt Paving Company, Inc.

(the “Defendant”) participated in two separate bid-rigging conspiracies that

enabled it to win more than $3.6 million in asphalt paving services contracts. The

conspiracies were extensive and affected dozens of projects and victims. The

Defendant, through its officers and employees, including President, majority

owner, and co-defendant Edward D. Swanson, corrupted the competitive bidding

process and undermined the basic, but essential, notions of free and fair

competition. The Defendant’s actions violated the Sherman Act, 15 U.S.C. § 1,

and for the reasons set forth in this sentencing memo, the United States

recommends that the Court sentence the Defendant to a criminal fine of $914,436,

subject to any potential fine offset that the Court may grant under U.S.S.G. §8C3.4,
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a $400 special assessment for each count of conviction, no term of probation, and

no order of restitution.1 This sentence is sufficient, but not greater than necessary,

to achieve the sentencing goals of 18 U.S.C. § 3553(a).

    I.      Offense Background
         The Defendant is an asphalt paving company based in Taylor, Michigan.

During the relevant periods of the conspiracies, the Defendant provided a range of

asphalt paving services, such as large driveways, parking lots, and private

roadways. Potential customers would solicit bids from providers of asphalt paving

services such as the Defendant, typically requiring bids from at least two or more

providers. The potential customer would award contracts for asphalt paving

services after first reviewing and evaluating bids submitted by the providers.

         From at least as early as March 2013 and continuing until at least as late as

November 2018, the Defendant, through its officers and employees, including

individuals within substantial authority personnel such as co-defendant Swanson,

conspired with Asphalt Specialists, LLC (“ASI”) and other co-conspirators to rig

bids for contracts to provide asphalt paving services in the State of Michigan. In

addition, from at least as early as June 2013 and continuing until at least as late as

June 2019, the Defendant, through its officers and employees, including



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 The parties have agreed to recommend a fine within the range of no less than $731,549 and no more than
$914,436. Plea Agreement, ¶ 11 (Dkt. 21).

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individuals within substantial authority personnel such as co-defendant Swanson,

conspired with F. Allied Construction Company, Inc. (“Allied”) and other co-

conspirators to rig bids for contracts to provide asphalt paving services in the State

of Michigan. The Defendant has pleaded guilty to its participation in both

conspiracies. Plea Agreement, Dkt. 21.

      The two conspiracies operated in much the same way. In furtherance of the

respective conspiracies, the Defendant’s officers and employees engaged in

conversations and communications with ASI and Allied co-conspirators about

which contracts each company wanted to win and agreed to rig bids in each other’s

favor. The co-conspirators shared price-related information, including bid

submissions, so that the agreed-upon losing co-conspirator could craft a higher-

priced non-competitive bid, which it then submitted to the customer. As a result,

the agreed-upon winning company would indeed get the contract. The Defendant,

ASI, and Allied each provided asphalt paving services and accepted payments

under contracts obtained through this collusive and non-competitive process. The

Defendant was paid $1,780,549 for projects that it rigged with ASI and $1,877,199

for projects that it rigged with Allied for a total stipulated volume of commerce of

$3,657,748.

      The victims in this matter are customers that paid the Defendant, ASI, and

Allied for asphalt paving services projects that were awarded to the three


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companies via rigged bids in furtherance of the two respective conspiracies. The

United States has identified 40 such organizational victims.

   II.      Sentencing Guidelines Calculations and Fine Methodology
         In determining and imposing a sentence, the Court must consider the

sentence established by the advisory Sentencing Guidelines. 18 U.S.C. §

3553(a)(4). The Sentencing Guidelines procedure for calculating the Guidelines

fine range for a corporation charged with an antitrust offense is set forth below.

Organizations, such as the Defendant, are sentenced pursuant to Chapter 8 of the

Sentencing Guidelines. In the case of antitrust violations, in addition to the

provisions of Chapter 8, special instructions with respect to determining fines for

organizations are found in the Antitrust Guideline, U.S.S.G. § 2R1.1.

            A. Determining the Base Fine
         Under the Sentencing Guidelines, the first step in determining the

Defendant’s fine range is to determine the base fine. The controlling guideline

applicable to the counts charged is U.S.S.G. §2R1.1(d)(1), which provides that the

base fine is 20% of the affected volume of commerce.

         Counts One and Two are grouped under U.S.S.G. §3D1.2(d). Additionally,

when multiple counts or conspiracies are involved, the volume of commerce

should be treated cumulatively to determine a single, combined offense level.

USSG §2R1.1(b)(2).

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      The volume of commerce attributable to a defendant for sentencing purposes

in an antitrust case is the volume of commerce “done by him or his principal in

goods or services that were affected by the violation.” U.S.S.G. § 2R1.1(b)(2).

Here, the parties have stipulated that the volume of commerce attributable to the

Defendant for Counts One and Two is $3,657,748. Plea Agreement ¶ 6(c). The

stipulated volume of commerce reflects payments made to the Defendant for work

performed on rigged contracts to provide asphalt paving services in furtherance of

the charged conspiracies. Under U.S.S.G. §2R1.1(d)(1), the base fine is 20% of

$3,657,748, or $731,549.

         B. Sentencing Guidelines Range
      After determining the base fine, the next step is to determine the Defendant’s

culpability score. The Defendant’s base culpability score is 5. U.S.S.G.

§8C2.5(a). The culpability score is increased by 2 points because the Defendant

had more than 50 employees and an individual within substantial authority

personnel participated in the conspiracies. U.S.S.G. §8C2.5(b)(4). The Defendant

cooperated in the investigation and clearly demonstrated recognition and

affirmative acceptance of responsibility for its criminal conduct, which adjusts the

culpability score downward by 2 points. U.S.S.G. §8C2.5(g)(2). The resulting

total culpability score is 5, which corresponds to a minimum multiplier of 1.0 and a

maximum multiplier of 2.0. U.S.S.G. §8C2.6. Applying the multipliers to the base

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      The United States recommends a fine of $914,436 as sufficient but not

greater than necessary to meet the stated sentencing goals and factors set forth in

18 U.S.C. § 3553(a).

         A. The Recommended Sentence Satisfies 18 U.S.C. § 3553(a)

      In addition to considering the Guidelines, the Court must also consider the

other factors set forth in 18 U.S.C. § 3553(a) in determining and imposing a

sentence that is “sufficient but not greater than necessary” to meet specified

sentencing goals. Because the Defendant in this case is a corporation, not all the §

3353(a) factors apply. The most relevant factors in this inquiry include the need

for the sentence imposed to reflect the seriousness of the offense, to promote

respect for the law, and to provide adequate deterrence, see 18 U.S.C. §

3553(a)(2)(A)–(B), and the nature and circumstances of the offense and the history

and characteristics of the Defendant, id. § 3553(a)(1). The recommended sentence

is sufficient, but not greater than necessary, to achieve these objectives.

                i. The recommended sentence recognizes the seriousness of
                   the offense and promotes respect for the law

      The Defendant’s violations of the Sherman Act are serious because they

attacked the basic principle of competition integral to our economic system. As

the Sentencing Commission (the “Commission”) recognizes, “there is near

universal agreement that restrictive agreements among competitors, such as


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horizontal price-fixing (including bid-rigging) and horizontal market-allocation,

can cause serious economic harm.” U.S.S.G. § 2R1.1 cmt. background. The

Defendant’s two bid-rigging conspiracies are no exception. Asphalt paving

services contracts were tainted by the conspiracies while customers lost the benefit

of free competition. The Defendant and its co-conspirators, however, reaped the

benefits of their conspiracies to the tune of millions of dollars paid on rigged

contracts: the Defendant won over $3.6 million in rigged contracts while helping

ASI and Allied win rigged contracts worth over $12 million combined.

      Furthermore, the Defendant participated in the conspiracies mostly through

its high-level executives. Co-defendant Swanson was one such executive.

Swanson personally sought, received, and provided numerous non-competitive

bids with the Defendant’s ASI and Allied co-conspirators. He also participated in

meetings with co-conspirator executives in which non-competitive bidding was

discussed. Swanson’s mere involvement in the conspiracies, especially after he

became Vice-President in 2015 and President/majority owner in 2018, clearly

signaled to the Defendant’s co-conspirators, as well as its own employees, that the

Defendant was committed to the criminal conspiracies from the top-down.

      Finally, the recommended sentence promotes respect for the law. It serves

as a reminder of corporations’ immense responsibility to abide by the Sherman Act

to ensure that customers can go into the marketplace with the confidence that they


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will reap the benefits of fair and free competition. In the context of competitive

bidding, such as the kind that takes place in the asphalt paving industry, the

recommended sentence promotes the idea that customers should always get

competitors’ very best bid.

      Accordingly, the United States’ recommended sentence properly accounts

for the seriousness of the Defendant’s conduct and promotes respect for the law.

                ii. The recommended sentence provides both specific and
                    general deterrence

      The recommended sentence will provide adequate specific and general

deterrence. The Defendant remains an asphalt paving services provider, as do its

employees, including those who participated in the instant offenses such as co-

defendant Swanson. They may again find themselves in situations like those that

gave rise to the instant offenses, including receiving requests to submit or seek

non-competitive bids. A significant criminal fine is necessary to ensure that they

are put on notice that antitrust violations are taken seriously. The Defendant notes

that it began a “strict ‘no comp bids allowed’ policy” on January 1, 2019, PSR ¶

23, yet its conspiracy with Allied survived to at least June 2019. Considering that

the Defendant continues to employ the same individuals who participated in the

conspiracies, the recommended sentence will incentivize the Defendant to cultivate

a culture of compliance in its actions and not just its policies, and remain vigilant


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against threats to free and fair competition in the asphalt paving industry, whether

they originate externally or from within. The recommended sentence thus furthers

specific deterrence.

      The recommended sentence also provides for general deterrence. “Because

economic and fraud-based crimes are more rational, cool, and calculated than

sudden crimes of passion or opportunity, these crimes are prime candidates for

general deterrence.” United States v. Peppel, 707 F.3d 627, 637 (6th Cir. 2013)

(quoting United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006)). Antitrust

defendants frequently participate in antitrust conspiracies calculated to boost

profits, take shortcuts, and subvert free and open competition. To the average

corporate antitrust defendant, an insufficient penalty for violating the Sherman Act

can be seen as merely the cost of doing business and undermine the need for

deterrence. A significant fine is the way to defeat this perverse cost-benefit

analysis by showing would-be antitrust violators that the risks of committing

antitrust offenses are not worth any potential benefit.

      Moreover, this type of general deterrence is especially important here

because bid-rigging is a particularly difficult crime to detect. Illegal conduct that

enriches offenders while minimizing the risk of detection is especially pernicious

and requires strong sentences to deter it. See United States v. Zukerman, 897 F.3d

423, 429 (2d Cir. 2018) (“Considerations of (general) deterrence argue for


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punishing more heavily those offenses that either are lucrative or are difficult to

detect and punish, since both attributes go to increase the expected benefits of a

crime and hence the punishment required to deter it” (internal citation omitted)).

Given the immense effort that it takes to discover and prosecute bid-riggers like the

Defendant, an insufficient penalty may undermine general deterrence and

embolden future would-be violators.

      A significant criminal fine furthers deterrence. Here, the need for adequate

specific and general deterrence weighs in favor of imposing the United States’

recommended sentence.

               iii. The recommended sentence appropriately reflects the
                    history and characteristics of the Defendant and the nature
                    and circumstances of the offense

      The Defendant had not been charged with any federal crime prior to the

instant offenses. Based on the information about its current financial condition

submitted by the Defendant to Probation, it appears that it has the ability to pay a

fine without significant disruption to its operations. See PSR ¶ 31.

      The Defendant was formed in 1969 and since that time positioned itself as a

relevant player in the asphalt paving industry. But despite its long-standing

position in the industry, the Defendant chose to cross the line and corrupt the

competitive landscape in violation of the Sherman Act. It received and provided

non-competitive bids as part of two separate bid-rigging conspiracies spanning

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many years and affecting numerous victims. As a result, the Defendant and its co-

conspirator companies were paid millions of dollars on tainted contracts. The

Defendant could have terminated its involvement in the conspiracies and ceased

the criminal activity prior to the end of the relevant periods, but it did not. Instead,

the Defendant, including its high-ranking executives such as co-defendant

Swanson, repeatedly chose to violate the law.

      The Defendant has accepted responsibility for its conduct, and it cooperated

in the United States’ investigation into the asphalt paving industry. The

Defendant’s personal history and characteristics, as well as the nature and

circumstances of the offense, support the United States’ recommended sentence.

               iv. Balancing the relevant factors, the recommended sentence
                   is sufficient but not greater than necessary to achieve
                   sentencing objectives

      The Defendant’s illegal conduct was extensive and corrupted the

competitive process for many years. Accordingly, its sentence must appropriately

address the sentencing objectives of § 3553(a). The United States submits that its

recommended sentence of a criminal fine of $914,436, subject to any potential fine

offset that the Court may grant under U.S.S.G. §8C3.4, a $400 special assessment

for each count of conviction, no term of probation, and no order of restitution is

sufficient but not greater than necessary to achieve those objectives.



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   IV.     Restitution is Discretionary
        The parties have agreed to recommend that the Defendant’s sentence not

include a restitution order in light of the availability of civil causes of action that

potentially provide for a recovery of a multiple of actual damages. Plea

Agreement, ¶ 15. The Mandatory Victim Restitution Act does not mandate

restitution for Title 15 offenses, including the Sherman Act, but only for crimes of

violence and certain offenses under Titles 18 and 21. 18 U.S.C. § 3663A(c)(1)(A).

See PSR ¶ 50. Under the Crime Victims’ Rights Act, 18 U.S.C. § 3771, the United

States has notified the Defendant’s victims of these proceedings.

   V.      Probation
        The parties have agreed to recommend that no term of probation be imposed.

Plea Agreement ¶ 11(c). Under 18 U.S.C. § 3561(c)(1), the Court may impose a

term of probation of at least one year, but not more than five years. In considering

whether to impose probation, the Court should consider the factors set forth in

U.S.S.G. §8D1.1, which include ordering a term of probation to secure payment of

a fine, §8D1.1(a)(2), or to ensure implementation of an effective compliance

program, §8D1.1(a)(3). As previously noted, the Defendant’s financial condition

appears to be in a position to support its payment of a criminal fine. PSR ¶ 31.

The Defendant also reported that it is working with attorneys in developing a




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written compliance plan. PSR ¶ 23. Accordingly, the United States does not

recommend a term of probation.

   VI.   Conclusion
      For the foregoing reasons, the United States respectfully requests that the

Court : 1) order the Defendant to pay a $914,436 criminal fine subject to any

potential fine offset that the Court may grant under U.S.S.G. §8C3.4; 2) order the

Defendant to pay a $400 special assessment for each count of conviction; 3) not

impose a term of probation; and 4) not order restitution.




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                                          Respectfully submitted,


                                          /s/ Ruben Martinez, Jr.
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Dated: May 31, 2024




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                        CERTIFICATE OF SERVICE

      I hereby certify that on May 31, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.



                                             s/Ruben Martinez, Jr.
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Dated: May 31, 2024




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